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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CRUM & FORSTER SPECIALTY                                    CIVIL ACTION
 INSURANCE COMPANY,
               Plaintiff,

                v.
                                                             NO. 19-3519
 STRONG CONTRACTORS, INC.,
              Defendant.

                                            ORDER

       AND NOW, this 18th day of September, 2020, upon consideration of the Motion to Be

Joined as a Necessary Party filed by Tyrone Tyler (Document No. 21, filed August 20, 2020) and

the Response in Opposition to Tyler’s Motion to Be Joined as a Necessary Party (Document No.

22, filed August 27, 2020), for the reasons stated in the accompanying Memorandum dated

September 18, 2020, IT IS ORDERED as follows:

       1.      To the extent that Tyler’s motion seeks joinder under Federal Rule of Civil

Procedure 19, the Motion is DENIED;

       2.      To the extent that Tyler’s motion seeks intervention under Federal Rule of Civil

Procedure 24, the Motion is DENIED; and

       3.      The Court DECLINES to retain jurisdiction over this matter. Accordingly, the

case is DISMISSED WITHOUT PREJUDICE to Crum & Forster Specialty Insurance

Company’s right to file a declaratory judgment action in state court.

       IT IS FURTHER ORDERED that the Clerk of the Court shall MARK the case

CLOSED.

                                                     BY THE COURT:

                                                     /s/ Hon. Jan E. DuBois

                                                        DuBOIS, JAN E., J.
